                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN
                                 MILWAUKEE DIVISION


DONALD J. TRUMP, Candidate for President of the
United States of America,

               Plaintiff,

       v.

 THE WISCONSIN ELECTIONS COMMISSION, and its
 members, ANN S. JACOBS, MARK L. THOMSEN,
 MARGE BOSTELMANN, DEAN KNUDSON,
 ROBERT F. SPINDELL, JR., in their official capacities,
 SCOTT MCDONELL in his official capacity as the Dane
 County Clerk, GEORGE L. CHRISTENSON in his
 official capacity as the Milwaukee County Clerk,
 JULIETTA HENRY in her official capacity as the                             Case No.: 20CV1785
 Milwaukee Election Director, CLAIRE WOODALL-
 VOGG in her official capacity as the Executive Director
 of the Milwaukee Election Commission, MAYOR TOM
 BARRETT, JIM OWCZARSKI, MAYOR SATYA
 RHODES-CONWAY, MARIBETH WITZEL-BEHL,
 MAYOR CORY MASON, TARA COOLIDGE, MAYOR
 JOHN ANTARAMIAN, MATT KRAUTER, MAYOR
 ERIC GENRICH, KRIS TESKE, in their official
 capacities; DOUGLAS J. LA FOLLETTE, Wisconsin
 Secretary of State, in his official capacity, and TONY
 EVERS, Governor of Wisconsin, in his official capacity.

               Defendants.


                        DEFENDANT GOVERNOR TONY EVERS’S
                        NOTICE OF SUPPLEMENTAL AUTHORITY


       Defendant Governor Tony Evers writes to notify the Court of a ruling subsequent to

yesterday’s trial proceedings that bears on the issues presented.

       This morning the Milwaukee County Circuit Court (Reserve Judge Simanek, sitting by

designation of the Chief Justice) affirmed the recount results in an oral ruling from the bench. In

so doing, he expressly rejected all statutory arguments raised by President Trump about the


         Case 2:20-cv-01785-BHL Filed 12/11/20 Page 1 of 3 Document 131
process of distributing, collecting, and canvassing absentee ballots in Wisconsin’s November 3,

2020 election. See Milwaukee County Case No. 2020CV7092 and Dane County Case No.

2020CV2514.

       As President Trump has raised in this Court several of those same arguments about the

meaning of Wisconsin state law, Governor Evers wants to bring today’s ruling to the Court’s

immediate attention. As soon as a transcript of today’s oral ruling is available, Governor Evers

will file a copy with this Court.



Dated: December 11, 2020                    Respectfully submitted,

                                            /s/ Jeffrey A. Mandell
                                            Jeffrey A. Mandell
                                            Rachel E. Snyder
                                            Richard A. Manthe
                                            STAFFORD ROSENBAUM LLP
                                            222 W. Washington Ave., Suite 900
                                            Madison, WI 53701-1784
                                            Telephone: 608-256-0226
                                            Email: jmandell@staffordlaw.com
                                            Email: rsnyder@staffordlaw.com
                                            Email: rmanthe@staffordlaw.com

                                            Justin A. Nelson
                                            Stephen E. Morrissey
                                            Stephen Shackelford Jr.
                                            Davida Brook
                                            SUSMAN GODFREY L.L.P.
                                            1000 Louisiana St., Suite 5100
                                            Houston, TX 77002
                                            (713) 651-9366
                                            jnelson@susmangodfrey.com
                                            smorrissey@susmangodfrey.com
                                            sshackelford@susmangodfrey.com
                                            dbrook@susmangodfrey.com

                                            Paul Smith
                                            CAMPAIGN LEGAL CENTER


                                               2

         Case 2:20-cv-01785-BHL Filed 12/11/20 Page 2 of 3 Document 131
                            1101 14th St. NW, Suite 400
                            Washington, DC 20005
                            (202) 736-2200
                            psmith@campaignlegalcenter.org

                            Attorneys for Defendant, Governor Tony Evers




                              3

Case 2:20-cv-01785-BHL Filed 12/11/20 Page 3 of 3 Document 131
